                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                  3:13-cv-00295-RJC
                                (3:04-cr-00250-RJC-6)

JACQUES MAULICE DEGREE,             )
                                    )
            Petitioner,             )
                                    )
                 v.                 )                              ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
            Respondent.             )
____________________________________)

       THIS MATTER is before the Court upon consideration of Petitioner’s Motion to

Vacate, Set Aside or Correct sentence, which is filed pursuant to 28 U.S.C. § 2255, and his

alternative claims for relief under to 28 U.S.C. § 2241, and pursuant to petitions for writs of

coram nobis and audita querela. For the reasons that follow, Petitioner’s § 2255 Motion to

Vacate will be dismissed and his alternative claims for relief will be denied.

I.     BACKGROUND

       Petitioner was charged in a Superseding Bill of Indictment in this District with one count

of conspiracy to possess with intent to distribute more than five (5) kilograms of cocaine, and

more than 50 grams of cocaine base, all in violation of 21 U.S.C. §§ 846 and 841. It was further

alleged that it was reasonably foreseeable to Petitioner that at least 1.5 kilograms of cocaine base

was involved in the conspiracy (Count 1). (3:04-cr-00250, Doc. No. 104: Superseding Bill of

Indictment at 2-3). The Bill of Indictment also charged Petitioner with eight counts of possession

with intent to distribute cocaine base, and aiding and abetting the same, in violation of 21 U.S.C.



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§ 841 and 18 U.S.C. § 2 (Counts 17, 19, 20 21, 23, 24, 25, and 26); and two counts of possession

with intent to distribute cocaine base, in violation of § 841. (Counts 18 and 22).1

        Petitioner entered into a plea agreement with the Government in which he agreed to plead

guilty to Count 1 in the Superseding Bill of Indictment in exchange for the dismissal of the

remaining counts against him if his guilty plea was accepted. The plea agreement provided that

Petitioner would stipulate that the amount of cocaine base that was known or reasonably

foreseeable to him in the conspiracy was at least 50 grams, and Petitioner was informed that he

was facing a mandatory term of life imprisonment following his conviction. The plea agreement

further provided that Petitioner would waive his right to contest his conviction or sentence on

direct appeal or through a collateral proceeding or otherwise, except that he reserved his right to

raise claims of prosecutorial misconduct and ineffective assistance of counsel. (Id., Doc. No.

215: Plea Agreement). Petitioner’s plea of guilty was accepted following a Plea and Rule 11

hearing after the elements of Count 1 and the potential penalties were explained, and Petitioner

averred that he understood the charge and the possible punishment and that he agreed with the

terms of plea agreement. In particular, his right to collaterally challenge his sentence except for

claims of ineffective assistance of counsel or prosecutorial misconduct. (Id., Doc. No. 224: Entry

and Acceptance and Entry of Guilty Plea).

        In Petitioner’s presentence report (“PSR”), the probation officer calculated a total offense



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 Shortly after the return of the original Bill of Indictment, the Government filed notice of its intention to seek
enhanced penalties pursuant to 21 U.S.C. § 851, based on 1997 convictions for possession with intent to sell or
deliver cocaine and marijuana, which were sustained in Cleveland County Superior Court in North Carolina, and a
2001 conviction for possession of crack cocaine in York County, South Carolina. (Id., Doc. No. 12). Petitioner’s
1997 convictions were consolidated for judgment and he was sentenced to a term of 8 to 10 months’ imprisonment.
For his 2001 conviction, Petitioner was sentenced to a term of 3-years in prison. (Id., Doc. No. 776: Presentence
Report ¶¶ 52, 55).


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level of 40 and a criminal history category of VI for a Guidelines range of 360 months to life,

and the probation officer noted the mandatory statutory term of life imprisonment based on the

prior drug convictions which were identified by the Government in the § 851 notice. (Id., PSR ¶¶

84-85). The probation officer also found that Petitioner qualified as a career offender pursuant to

§ 4B1.1 of the U.S. Sentencing Guidelines Manual (“USSG”) based on North Carolina

convictions for two counts of possession with intent to sell or deliver cocaine and three counts of

possession with intent to sell or deliver marijuana, and the South Carolina conviction for

possession of crack cocaine. (Id. ¶ 41).

        Prior to sentencing, the Government filed a motion for a downward departure below the

statutory maximum pursuant to USSG § 5K1.1 and 18 U.S.C. § 3553(e) based on Petitioner’s

substantial assistance. (Id., Doc. No. 353). On December 19, 2005, the Court granted the

Government’s motion to sentence below the statutory maximum and reduced his total offense

level to 38 and sentenced him to a term of 210-months’ imprisonment and he appealed, however

on April 27, 2006, the Fourth Circuit granted his motion to dismiss the appeal. (Id., Doc. No.

421: Judgment; Doc. No. 459: Fourth Circuit Order).2

II.     STANDARD OF REVIEW

        Rule 4(b) of the Rules Governing Section 2255 Proceedings provides that district courts

are to promptly examine a motion to vacate, along with “any attached exhibits and the record of

prior proceedings . . .” in order to determine whether the petitioner is entitled to any relief on the

claims set forth therein. After examining the record in this matter, the Court finds that the

argument presented by the Petitioner can be resolved without an evidentiary hearing. See Raines


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 The Court denied two post-judgment motions for a sentence reduction which Petitioner filed pursuant 18 U.S.C. §
3852. (Id., Doc. Nos. 704, 728).

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v. United States, 423 F.3d 526, 529 (4th Cir. 1970).

III.     DISCUSSION

         A.     Section 2255

         Petitioner contends that he is entitled to relief from his sentence because his prior drug

convictions no longer qualify him for the statutory mandatory minimum sentence to which he

was subjected nor do the convictions support his designation as a career offender. Petitioner

cites, among other authority, the Fourth Circuit’s en banc opinion in United States v. Simmons,

649 F.3d 237 (4th Cir. 2011), in which the Court held that in order for a prior felony conviction

to serve as a federal felony offense, the individual defendant must have been convicted of an

offense for which that defendant could be sentenced to a term exceeding one year. Simmons, 649

F.3d at 243 (emphasis added). In reaching this holding, the Simmons Court expressly overruled

United States v. Harp, 406 F.3d 242 (4th Cir. 2005), in which the Court held that in determining

“whether a conviction is for a crime punishable by a prison term exceeding one year [under

North Carolina law] we consider the maximum aggravated sentence that could be imposed for

that crime upon a defendant with the worst possible criminal history.” Id. (quoting Harp, 406

F.3d at 246) (emphasis omitted).

         The Government has filed a response and a motion to dismiss Petitioner’s § 2255 motion

as untimely and because Petitioner’s expressly waived his right to collaterally challenge his

sentence in his plea agreement except on grounds not relevant here. (3:13-cv-00295, Doc. No. 10:

Motion to Dismiss and Response to Motion to Vacate). Petitioner did not file a reply.

         The Antiterrorism and Effective Death Penalty Act (“AEDPA”) provides, in pertinent

part, as follows:



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           (f) A 1-year period of limitation shall apply to a motion under this section.
           The limitation period shall run from the latest of—

                    (1) the date on which the judgment of conviction becomes final;

                    (2) the date on which the impediment to making a motion created
                    by governmental action in violation of the Constitution or laws of
                    the United States is removed, if the movant was prevented from
                    making a motion by such governmental action;

                    (3) the date on which the right asserted was initially recognized by
                    the Supreme Court, if that right has been newly recognized by the
                    Supreme Court and made retroactively applicable to cases on
                    collateral review; or

                    (4) the date on which the facts supporting the claim or claims
                    presented could have been discovered through the exercise of due
                    diligence.

28 U.S.C. § 2255(f).

           Petitioner’s criminal judgment was filed on March 28, 2006, and his appeal was dismissed

by the Fourth Circuit in April 2006, therefore his § 2255 motion, which was filed on May 15,

2013, is filed roughly six years out-of-time and is therefore untimely under § 2255(f)(1). Section

2255(f)(2) is clearly inapplicable to Petitioner’s case, and his motion is untimely under §

2255(f)(3) because his claim does not depend upon a retroactive Supreme Court decision. Finally,

Petitioner’s claim is untimely under § 2255(f)(4) because it does not depend on “facts” that have

occurred in Petitioner’s own case. See Whiteside v. United States, 775 F.3d 180, 183-87 (4th Cir.

2014) (en banc) (holding that new legal holdings, other than rulings in the petitioner’s own case,

do not constitute new “facts” under § 2255(f)(4)).3 The Court also finds that Petitioner is not

entitled to equitable tolling of the one-year statute of limitation. See Whiteside, 775 F.3d at 184-

85 (rejecting equitable tolling when petitioner could have presented his claim in a timely fashion,


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    Petitioner’s case was held in abeyance pending the disposition of the Whiteside decision.

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notwithstanding adverse precedent and long-odds against relief).

       Petitioner’s § 2255 motion is also due to be dismissed because he expressly waived his

right to contest his sentence in a collateral proceeding in his plea agreement. At the conclusion of

his Plea and Rule 11 hearing, the magistrate judge concluded that Petitioner’s decision to waive

his right to challenge his sentence was knowing and voluntary and this Court affirmed that

conclusion at the outset of his sentencing hearing. It is well-settled that a defendant may waive his

right to contest his sentence in a § 2255 proceeding so long as the decision to forego such a right

is knowing and voluntary. See United States v. Lemaster, 403 F.3d 216, 220 (4th Cir. 2005).

        Based on the foregoing, the Court finds that Petitioner’s § 2255 motion should be

dismissed.

       B.      Section 2241

       A petitioner may proceed, however, under § 2241 in an effort to challenge his conviction

or sentence but only if the petitioner can demonstrate that a remedy afforded under § 2255 “is

inadequate or ineffective to test the legality of his detention.” 28 U.S.C. § 2255(e). “It is beyond

question that § 2255 is not inadequate or ineffective merely because an individual is unable to

obtain relief under that provision.” In re Jones, 226 F.3d 328, 333 (4th Cir. 2000). The Fourth

Circuit has concluded that the remedy under § 2255 is “in adequate or ineffective” only when:

       (1) at the time of conviction settled law of this circuit or the Supreme Court
       established the legality of the conviction; (2) subsequent to the prisoner’s direct
       appeal and first § 2255 motion, the substantive law changed such that the conduct
       of which the prisoner was convicted is deemed not to be criminal; and (3) the
       prisoner cannot satisfy the gatekeeping provisions of § 2255 because the new rule
       is not of one of constitutional law.

In re Jones, at 333-34.

       Petitioner’s claim fails here because he cannot show that § 2255 is inadequate to challenge


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his sentence therefore his § 2241 petition will be denied.

        C.      Coram Nobis

        Relief pursuant to a writ of coram nobis should be limited to petitioners that are no longer

in custody following their conviction. See Carlisle v. United States, 517 U.S. 416, 428-29 (1996);

see also United States v. Orocio, 645 F.3d 630, 635 n.4 (3rd Cir. 2011) (“The writ of error coram

nobis ‘is used to attack allegedly invalid convictions which have continuing consequences, when

the petitioner has served his sentence and he is no longer ‘in custody’ for purposes of 28 U.S.C. §

2255.’”) (internal citations omitted), abrogated on other grounds by, Chaidez v. United States, 133

S. Ct. 1103 (2013). Petitioner’s claim here will be dismissed as he remains in the custody of the

Federal Bureau of Prisons.

        D.      Audita Querela

        Finally, the Court finds that the writ of audita querela is unavailable to a petitioner that

may otherwise challenge his conviction or sentence by way of a Section 2255 motion. “A writ of

audita querela is not available to a petitioner when other avenues of relief are available, such as a

motion to vacate under § 2255.” In re Moore, 487 F. App’x 109 (4th Cir. 2012) (unpublished)

(citing United States v. Torres, 282 F.3d 1241, 1245 (10th Cir. 2002)), and United States v.

Johnson, 962 F.2d 579, 582 (7th Cir. 1992) (noting that relief under this writ is unavailable to a

petitioner who could raise his claim pursuant to Section 2255). For the reasons stated, the petition

for a writ of audita querela will be denied.

IV.     CONCLUSION

        For the reasons stated herein, the Court finds that Petitioner is not entitled to relief and

his § 2255 motion will be dismissed and his alternative claims for relief will be denied.



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         IT IS, THEREFORE, ORDERED that:

         1.     Respondent’s Motion to Dismiss is GRANTED. (Doc. No. 10).

         2.     Respondent’s Motion for Extension of Time is GRANTED. (Doc. No. 11).

         3.     Petitioner’s Motion to Vacate is DISMISSED with prejudice. (Doc. No. 1).

         4.     Petitioner’s alternative claims for relief are DENIED.

        IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules Governing

Section 2255 Cases, the Court declines to issue a certificate of appealability as Petitioner has not

made a substantial showing of a denial of a constitutional right. 28 U.S.C. § 2253(c)(2); Miller-

El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in order to satisfy § 2253(c), a petitioner must

demonstrate that reasonable jurists would find the district court’s assessment of the constitutional

claims debatable or wrong); Slack v. McDaniel, 529 U.S. 474, 484 (2000) (holding that when

relief is denied on procedural grounds, a petitioner must establish both that the correctness of the

dispositive procedural ruling is debatable, and that the petition states a debatably valid claim of

the denial of a constitutional right).

        The Clerk is directed to close this civil case.

        SO ORDERED.

 Signed: November 30, 2015




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